     Case: 1:14-cv-00549-BYP Doc #: 355-2 Filed: 02/28/18 1 of 2. PageID #: 6610




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

KCI USA, INC.,                                     )   CASE NO. 1:14-CV-00549
                                                   )
          Plaintiff,                               )   JUDGE BENITA Y. PEARSON
                                                   )
v.                                                 )
                                                   )   [PROPOSED] ORDER GRANTING
HEALTHCARE ESSENTIALS, INC., ET                    )   PLAINTIFF KCI USA, INC.’S
AL.,                                               )   MOTION FOR DEFAULT
                                                   )   JUDGMENT AGAINST
          Defendants.                              )   DEFENDANTS DANIEL RADER
                                                   )   AND ANTHONY ESTRADA


          This matter is before the Court on Plaintiff KCI USA, Inc.’s (“Plaintiff”) Motion for

Default Judgment Against Defendants Daniel Rader and Anthony Estrada (“Motion”).

Defendants Daniel Rader and Anthony Estrada, having failed to plead or otherwise respond to

the Third Amended Complaint (See ECF Nos. 276, 310), Defendant Daniel Rader having failed

to appear for his Court-ordered deposition (see ECF No. 351), and after consideration of

Plaintiff’s Motion, the Court finds it well-taken and hereby GRANTS the Motion. Accordingly,

the Court hereby ORDERS as follows:

          1.      Judgment is entered in Plaintiff’s favor and against Defendants Daniel Rader and

Anthony Estrada on Count I, Count II, Count III, Count V, Count VI, Count VII, Count IX, and

Count X of the Third Amended Complaint.

          2.      The Court will schedule an evidentiary hearing solely with respect to Plaintiff’s

damages and may consolidate the evidentiary hearing with respect to any other Defendant in this

action.
   Case: 1:14-cv-00549-BYP Doc #: 355-2 Filed: 02/28/18 2 of 2. PageID #: 6611




IT IS SO ORDERED.




Date:
                                        BENITA Y. PEARSON
                                        UNITED STATES DISTRICT JUDGE




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